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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION

MARY BECKHAM,                                          )
                                                       )
        Plaintiff,                                     )
                                                       )
v.                                                     )   CIVIL ACTION NO.
                                                       )   05-0543-BH-D
PROVIDENT LIFE AND ACCIDENT                            )
INSURANCE COMPANY; et al.,                             )
                                                       )
        Defendants.                                    )

                                                  ORDER

        This action is before the Court on a number of motions, including: a motion to

dismiss (Doc. 2) filed by the Archdiocese of Mobile (“Archdiocese”); motion to remand

(Doc. 9) filed by the plaintiff, Mary Beckham; and plaintiff’s motion to amend her

Complaint (Doc. 6). Upon consideration of each motion, the parties’ respective responses

in opposition thereto (Docs. 7, 11 and 12), and all other pertinent portions of the record,

the Court concludes that the Archdiocese’s motion to dismiss is due to be granted while

plaintiff’s motions to amend and to remand are due to be denied, for the reasons stated by

the Archdiocese.

                                    I. Archdiocese’s Motion to Dismiss

        It is undisputed that the Archdiocese is not a party to the disability contract between

the plaintiff and Provident Life and Accident Insurance Company (“Provident”)(Complaint

¶ 9). It is further undisputed that the decision to deny plaintiff’s claim for benefits was
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made by UnumProvident Corporation (“Unum”), the entity that adjusts claims on the

Provident’s disability policies, and not by the Archdiocese (Complaint ¶¶ 14 and 15).

Consequently, based upon the pleadings themselves, there is no possibility that the plaintiff

can prove a breach of contract, or bad faith denial of, or failure to investigate, an insurance

claim by the Archdiocese.

        Similarly, the only fraud, misrepresentation and/or suppression claim specifically

alleged against the Archdiocese is set forth in one paragraph of the Complaint, which states

in pertinent part:

                 In an apparent attempt to dissuade Plaintiff from obtaining the benefits
                 for which she paid, Vicki Stricklin, an employee of Defendant
                 Archdiocese in charge of benefits and compensation, told the Plaintiff
                 that she was not entitled to any benefits under the Provident policy.

Complaint at ¶ 11. Plaintiff later acknowledges, however, that she in fact “submitted a

claim to Defendant Provident” (Complaint ¶ 13) and thus did not rely on the

aforementioned alleged statement by Stricklin. Absent reliance, there can be no cause of

action for fraud. Ex Parte Marie McConnell Realty, Inc., 774 So.2d 588, 591 (Ala. 2000).

Consequently, based upon the pleadings themselves, there is no possibility that the plaintiff

can prove the fraud claim asserted against the Archdiocese in her original Complaint.1




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          The Court also agrees that, to the extent it could be said that plaintiff’s fraud claims relate to
the coverage available under the disability insurance policy at issue in this litigation, such claims are
clearly time barred for the reasons stated by the Archdiocese in its motion at ¶¶ 14 - 18.

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        In view of the above, the Court concludes that the plaintiff has failed to state a cause

of action against the Archdiocese upon which relief can be granted. It is therefore

ORDERED that the Archdiocese’s motion to dismiss pursuant to Fed.R.Civ.P. 12(b)(6) is

due to be and is hereby GRANTED.

                                      II. Plaintiff’s Motion to Amend

        In determining whether to grant leave to amend, a Court must consider whether there

has been undue delay in filing, bad faith, dilatory motives, prejudice to the opposing parties

and the futility of the amendment. Local 472 of the United Assn. of Journeymen &

Apprentices v. Georgia Power Co., 684 F.2d 721, 724 (11th Cir. 1982). As applied to the

case at bar, it is apparent that plaintiff attempts through amendment to accomplish what she

failed to accomplish in her original pleadings, to avoid federal diversity jurisdiction.

However, despite plaintiff’s protestations to the contrary, she has failed to assert a viable

claim for either negligence or conspiracy against the Archdiocese. Whether or not a

distinction exists between a “refusal” to accept an accommodating job and an inability to

perform such job because of impending surgery, plaintiff has failed to aver either a special

duty which the Archdiocese owed her with respect to the statement it allegedly made to

Unum or facts demonstrating how the Archdiocese breached such a duty. Consequently,

the Court agrees that the negligence claim against the Archdiocese asserted in the proposed

Amended Complaint cannot stand. The Court further agrees that, absent a viable underlying

wrong, there can be no civil conspiracy against the Archdiocese. Since the Archdiocese

was not a party to the disability insurance policy and did not participate in the claims

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process, it could not be guilty of breach of contract or bad faith failure to investigate or pay

benefits. Moreover, as stated above, plaintiff failed to state a viable fraud claim against the

Archdiocese in her original complaint. It would thus be futile to permit the plaintiff to

amend her complaint to assert the proposed negligence and conspiracy claims against the

Archdiocese. It is therefore ORDERED that plaintiff’s motion to amend be and is hereby

DENIED.

                                     III. Plaintiff’s Motion to Remand

        In view of the above, the Court concludes that the Archdiocese was fraudulently

joined to avoid federal diversity jurisdiction. The Court further concludes that, contrary to

plaintiff’s assertions, that the defendants have established that the amount in controversy

exceeds $75,000.00. See, Notice of Removal (Doc. 1) at ¶¶ 33-41. Plaintiff seeks an

indeterminate amount of compensatory and punitive damages, while alleging, inter alia,

that “she has suffered mental anguish, high blood pressure and emotional distress and will

continue to do so; her car was repossessed; she was forced to file for bankruptcy and she

was otherwise injured and damaged.” Complaint at ¶ 24. Plaintiff’s contention that she

does not seek more than $75,000.00 in this case is pure sophistry. It is therefore

ORDERED that plaintiff’s motion to remand be and is hereby DENIED.

                                    IV. Preliminary Scheduling Order

        In view of the above, it is FURTHER ORDERED that the stay imposed on

November 17, 2005 (Doc. 13) be and is hereby VACATED and the Preliminary Scheduling

Order entered on October 4, 2005 (Doc. 5), is REINSTATED with the proviso that the

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parties’ report pursuant to Fed.R.Civ.P. 26(f) is now due to be filed no later than

December 20, 2005.

        DONE this 28th day of November, 2005.

                                                                              s/ W. B. Hand
                                                                         SENIOR DISTRICT JUDGE




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